          Case 22-55399-bem                       Doc 1             Filed 07/15/22 Entered 07/15/22 15:54:41                                  Desc
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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:
                                                                                                                  3:50
 Northern District of Georgia
                                                                                                  "122 JUL 15 PM
 Case number (II known):                                          Chapter you are filing under:                 tip6
                                                                  le Chapter 7
                                                                  ID Chapter 11
                                                                  1:3 Chapter 12                   r
                                                                  CI Chapter 13                                                      Cheek if this is an
                                                                                                                                     amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor f and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:      Identify Yourself

                                     About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
   Your full name
   Write the name that is on your
                                     Zainab
   government-issued picture
                                     First name                                                         First name
   identification (for example,
   your driver's license or
   passport).                        Middle name                                                        Middle name

   Bring your picture                Mansaray
   identification to your meeting    Last name                                                          Last name
   with the trustee.
                                     Suffix (Sr., Jr., II, Ill)                                         Suffix (Sr., Jr., II, Ill)




2. All other names you
   have used in the last 8           First name                                                         First name
   years
   Include your married or           Middle name                                                        Middle name
   maiden names.
                                     Last name                                                          Last name


                                     First name                                                         First name

                                     Middle name                                                        Middle name


                                     Last name                                                          Last name




3. Only the last 4 digits of
                                     xxx       — xx —             6     1      1      0                 XXX       — xx—
   your Social Security
   number or federal                 OR                                                                 OR
   Individual Taxpayer
   Identification number             9 xx — xx —                                                        9 xx — xx —
    (ITIN)

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Debtor 1     Zainab       Mansaray                                                                    Case number or known)
             First Name   Middle Name               Last Name




                                        About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case).


 4. Any business names
                                              I have not used any business names or EINs.                   ij I have not used any business names or EINs.
    and Employer
    Identification Numbers
    (EIN) you have used In
    the last 8 years                    Business name                                                       Business name

    Include trade names and
    doing business as names             Business name                                                       Business name



                                        EIN                                                                 EIN


                                        EIN                                                                 EIN




! 5. Where you live                                                                                         If Debtor 2 lives at a different address:



                                        2485 Piering Dr.
                                        Number   Street                                                     Number           Street




                                        Lithonia                                 GA        30038
                                        City                                     State     ZIP Code          City                                     State     ZIP Code

                                        DeKalb
                                        County                                                               County

                                        If your mailing address Is different from the one                    If Debtor 2's mailing address is different from
                                        above, fill It in here. Note that the court will send                yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                          any notices to this mailing address.



                                        Number          Street                                               Number           Street


                                        P.O. Box                                                             P.O. Box


                                        City                                     State     ZIP Code          City                                      State    ZIP Code




    Why you are choosing                Check one:                                                           Check one:
    this district to file for
    bankruptcy
                                        Ei Over the last 180 days before filing this petition,               D Over the last 180 days before filing this petition,
                                               I have lived In this district longer than In any                     I have lived in this district longer than in any
                                               other district.                                                      other district.

                                               I have another reason. Explain.                               Li I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                          (See 28 U.S.C. § 1408.) .




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Debtor 1       Zainab       Mansarav                                                              Case number (e kwwr)
               First Name   Middle Name            Last Name




Part 2:      Tell the Court About Your Bankruptcy Case


7.   The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
                                              Chapter 7
     under
                                          0   Chapter 11

                                          0   Chapter 12

                                          CI Chapter 13

a. How you will pay the fee               U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                            local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashiers check, or money order. If your attorney Is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                            with a pre-printed address.

                                          U I need to pay the fee in installments. If you choose this option, sign and attach the
                                            Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9. Have you flied for                     LI No
   bankruptcy within the
   last 8 years?                              Yes. District                               When                       Case number
                                                                                                 MM! DD /YYYY
                                                    District                              When                      Case number
                                                                                                 MM / DD /YYYY
                                                    District                              When                      Case number
                                                                                                 MM DD YYYY



      Are any bankruptcy                      No
      cases pending or being
      filed by a spouse who is            LI Yes. Debtor                                                            Relationship to you
      not filing this case with                     District                              When                       Case number, if known
      you, or by a business                                                                      MM/DO / YYYY
      partner, or by an
      affiliate?
                                                    Debtor                                                           Relationship to you

                                                    District                              When                       Case number, If known
                                                                                                  MM / DD / YYYY



it Do you rent your                           No. Go to line 12.
   residence?                                 Yes. Has your landlord obtained an eviction judgment against you?

                                                     0   No. Go to line 12.
                                                     O   Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




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Debtor 1      Zainab         Mansaray                                                           Case number or /mown)
              First Name    Middle Name            Lest Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor               No. Go to Part 4.
    of any full- or part-time
    business?                               Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                  Name of business, if any
    individual, and Is not a
    separate legal entity such as
    a corporation, partnership, or
                                                  Number       Street
    LLC.
    If you have more then one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                              City                                                  State          ZIP Code


                                                  Check the appropriate box to describe your business:
                                                  O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  O Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  D None of the above

13. Are you filing under                  If you are riling under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                     choosing to proceed under subchapter V so that it can set appropriate deadlines, If you indicate that you
    Bankruptcy Code, and                  are a small business debtor or you are choosing to proceed under Subchapter V. you must attach your
                                          most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                          if any of these documents do not exist, follow the procedure in 11 U.S.C. § 14 16(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §               id No. I am not filing under Chapter 11.
    1182(1)?                              El No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                    the Bankruptcy Code.
    business debtor, see
                                          U Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
    11 U.S.C. § 101(51D).
                                                 Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                             Yes. lam filing under Chapter 11, l ame debtor according to the definition in § 1182(1) of the
                                                  Bankruptcy Code, and I choose to proceed under Subchapter Vol Chapter 11.




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Debtor 1     Zainab         Mansaray                                                             Case number (d Irmeei)
             First Name     Middle Name            Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any                 No
     property that poses or is
     alleged to pose a threat             0 Yes.     What is the hazard?
     of imminent and
     Identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs                             If immediate attention Is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                     Where is the property?
                                                                              Number        Street




                                                                              City                                        State   ZIP Code




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Debtor 1      Zainab         Mansarav                                                                    Case number (tkr..)
              First No       Middle Name             Last Narne




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                 You must check one:
    counseling.
                                               I received a briefing from an approved credit                   CI I received a briefing from an approved credit
                                               counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                  filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit            certificate of completion.                                         certificate of completion.
    counseling before you file for
                                               Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
    bankruptcy. You must
                                               plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you                  I received a briefing from an approved credit                   O I received a briefing from an approved credit
    cannot do so, you are not                  counseling agency within the 180 days before I                      counseling agency within the 180 days before I
    eligible to file.                          filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                               certificate of completion.                                          certificate of completion.
    If you file anyway, the court              Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                               you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
    will lose whatever filing fee                                                                                  plan, if any.
                                               plan, if any.
    you paid, and your creditors
    can begin collection activities            I certify that I asked for credit counseling                    O I certify that I asked for credit counseling
    again.                                     services from an approved agency, but was                           services from an approved agency, but was
                                               unable to obtain those services during the 7                        unable to obtain those services during the 7
                                               days after I made my request, and exigent                           days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                               of the requirement.                                                 of the requirement.
                                               To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                               requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                               you were unable to obtain It before you filed for                   you were unable to obtain It before you filed for
                                               bankruptcy, and whet exigent circumstances                          bankruptcy, and what exigent circumstances
                                               required you to file this case.                                     required you to file this case.
                                               Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must               lithe court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                       You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                               may be dismissed.                                                   may be dismissed.
                                               Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                               days.                                                               days.

                                           0   I am not required to receive a briefing about                    O I am not required to receive a briefing about
                                               credit counseling because of:                                       credit counseling because of:

                                               Li Incapacity. I have a mental illness or a mental                  O Incapacity. I have a mental illness or a mental
                                                              deficiency that makes me                                           deficiency that makes me
                                                              incapable of realizing or making                                   incapable of realizing or making
                                                              rational decisions about finances.                                 rational decisions about finances.
                                               Li Disability.     My physical disability causes me                 •   Disability.    My physical disability causes me
                                                                  to be unable to participate in a                                    to be unable to participate in a
                                                                  briefing In person, by phone, or                                    briefing In person, by phone, or
                                                                  through the internet, even after I                                  through the Internet, even after I
                                                                  reasonably tried to do so.                                          reasonably tried to do so.
                                               0   Active duty. I am currently on active military                  D Active duty.     I am currently on active military
                                                                duty in a military combat zone.                                       duty in a military combat zone.

                                               If you believe you are not required to receive a                    If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1      Zainab       Mansaray                                                                 Case number of mow.)
             First Name    IViddle Name             Lest Name




Part 6:     Answer These Questions for Reporting Purposes

                                          16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                      as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                               O No. Go to line 16b.
                                               O Yes. Go to line 17.

                                          16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                               money for a business or investment or through the operation of the business or investment.
                                               LI No. Go to line 16c.
                                               O Yes. Go to line 17.

                                          16c. State the type of debts you owe that are not consumer debts or business debts.



ir. Are you filing under
    Chapter 7?                            0 No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after VI Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded  and                      LI No
    administrative expenses
    are paid that funds will be        0 Yes
    available for distribution
    lo unsecured creditors?

is. How many creditors do                 0 1-49                                0   1,000-5,000                             LI 25,001-50,000
    you estimate that you                 0 50-99                               0   5,001-10,000                            0 50,001-100,000
    owe?                                  0 100-199                             0   10,001-25,000                           CI More than 100,000
                                          0 200-999
19. How much do you                            $0-$50,000                       0   $1,000,001-510 million                    $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                     $10,000,001-$50 million                   $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                    $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                               $500,001-$1 million                  $100,000,001-$500 million               0 More than $50 billion

20. How much do you                            $0-$50,000                          $1,000,001-$10 million                      $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                    $10,000,001-$50 million                     $1,000,000,001-$10 billion
    to be?                                     $100,001-$500,000                   $50,000,001-$100 million                    $10,000,000,001-S50 billion
                                               $500,001-$1 million              Li $100,000,001-$500 million                 0 More than $50 billion
 Part 7:    Sign Below

                                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                                  correct.
                                          If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                          of title 11, United States Code. I understand the relief available under each chapter, and I dhoose to proceed
                                          under Chapter 7.
                                          If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                          this document, I have obtained and read the notice required by 11 U.S.C. §342(b).
                                          I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                          I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                          with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                          18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                           X      (27ktiVtAWA/PV
                                               Signature of Debtor 1                                         Signature of Debtor 2

                                               Executed on                                                   Executed on
                                                                                                                            MM /   DO   /YYYY
              Avaauzzauumzvamsuuz;

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Debtor 1     Zainab       Mansaray                                                                 Case number (r known)
             First Name   Middle Name              Last Nffrle




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, In a case In which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                            Date
                                            Signature of Attorney for Debtor                                                MM   /     DD / YYYY




                                            Printed name


                                            Firm name


                                            Number       Street




                                            City                                                            State           ZIP Code




                                            Contact phone                                                   Email address




                                            Bar number                                                      State




                                                                                                   ,A1




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Debtor 1     Zainab           Mansaray                                                           Case number (Iknown)
             First Warne      Middle Name            Last




For you if you are filing this                The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                         should understand that many people find it extremely difficult to represent
attorney                                      themselves successfully. Because bankruptcy has long-term financial and legal
                                              consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                       To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                       technical, and a mistake or inaction may affect your rights. For example, your case may be
                                              dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                              hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                              firm if your case is selected for audit. If that happens, you could lose your right to file another
                                              case, or you may lose protections, Including the benefit of the automatic stay.
                                              You must list all your property and debts in the schedules that you are required to file with the
                                              court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                              in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                              property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                              also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                              case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                              cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                              Bankruptcy fraud Is a serious crime; you could be fined and imprisoned.

                                              If you decide to file without an attorney, the court expects you to follow the rules a§ if you had
                                              hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                              successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                              Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                              be familiar with any state exemption laws that apply.

                                              Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                              consequences?
                                              •    No
                                                   Yes

                                              Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                              inaccurate or incomplete, you could be fined or imprisoned?
                                              ia No
                                              • Yes

                                              Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                              O No
                                                 Yes. Name of Person Ruben S. Hauwanga
                                                      Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                              By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                              have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                              attorney may cause me to lose my rights or property if I do not properly handle the case.



                                                  ezkpoi,3az,p
                                                  Ignature of Debtor                                       Signature of Debtor 2

                                              Date
                                                               MM / DD
                                                                         -
                                                                         / YYYY
                                                                                                           Date
                                                                                                                            MM / DD / 'YYYY

                                              Contact phone    (470) 778-6674                              Contact phone

                                              Cell phone       (470) 778-6674                              Cell phone

                                              Email address    salonedoll@gmail.com                        Email address

                inInIetigriMNICUtirginiumt•

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  Fill in this information to identify your case:

  Debtor 1         Zainab Mansaray
                      First Name              Middle Name                Last Name

  Debtor 2
  (Spouse, If filing) For Name                Middle Name                Last Warns


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  or known)                                                                                                                        •   U Check if this is an
                                                                                                                                         amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                   04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


  Part 1:        Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

       U Married
       El Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?
      Li No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

              Debtor 1:                                           Dates Debtor 1       Debtor 2:                                            Dates Debtor 2
                                                                  lived there                                                               lived there

                                                                                       U same as Debtor 1                                  U Same as Debtor 1

                620 Ashley Lake Dr.                               From 11/01/2018                                                             From
               Number              Street                                                 Number Street
                                                                  To      10/01/2019                                                          To


                Peachtree Corners GA                30240
               City                         State ZIP Code                                City                  State ZIP Code

                                                                                       U Same as Debtor 1                                  IJ Same as Debtor 1

                                                                  From                                                                        From
               Number              Street                                                 Number Street
                                                                  To                                                                          To



               City                         State ZIP Code                                City                  State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       ij No
       11# Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 1
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Debtor 1        Zainab Mansaray                                                                          Case number orknovin)
                 First Nam      Waldla Name          Last Name




     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor I.

     O No
     Ll    Yes. Fill in the details.




                                                            Sources of Income               ross income            :Sources of Income           Gross income
                                                            Check all that apply,.        (before deductions nd     Check all Mat apply.        (before deductions and
                                                                                          exclusions)                                           exclusions)

                                                                                                                    O Wages, commissions,
            From January 1 of current year until
                                                                   bonuses, tips
                                                                                                   16,803.00          bonuses, tips
            the date you filed for bankruptcy:
                                                           .
                                                               0 Operating
                                                                  .
                                                                           a business                               O Operating a business
                                                                                                                       .              .

                                                                   Wages, commissions,                              O Wages, commissions,
            For last calendar year:
                                                                   bonuses, tips                   29,145.00          bonuses, Ups
            (January Ito December 31,2021                )U        Operating a business                             O Operating a business
                                     YYYY


            For the calendar year before that:                 0   Wages, commissions,                              CI   Wages, commissions,
                                                                   bonuses, tips                                         bonuses, tips
                                                                                                   29,000.00
            (January 1 to December 31,2020
                                              YYYY
                                                               0   Operating a business                             O Operating a business



  5. Did you receive any other Income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other Income are alimony: child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; Interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a Joint case and you have income that you received together, list it only once under Debtor I.

     List each source and the gross Income from each source separately. Do not include Income that you listed in line 4.

     •     No
     ca Yes. Fill in the details.

                                                               Sources of Income          Gross Income from          Sources of Income          Gross Income from
                                                               Describe below.            each source                Describe below.            each source
                                                                                          (before deductions and                                (before deductions and
                                                                                          exclusions)                                           exclusions)



             From January 1 of current year until
             the date you filed for bankruptcy:




                                                           Corona Relief                            1,330.00                                   'S
             For last calendar year

             (January 1 to December 31,2021
                                              YYYY




             For the calendar year before that:
             (January 1 to December 31,2020          j
                                              YYYY




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Debtor 1      Zainab Mansaray                                                                         Case number (If known)
               First Name        Middle Name              Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     U No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined In 11 U.S.C. § 101(8) as
           'incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825a or more?

               El No. Go to line 7.

               El Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                       total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                       child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               " Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     El    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               id No. Go to line 7.
                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                                                                                     Was this payment for...



                                                                                                                                     U Mortgage
                       Creditors Name
                                                                                                                                     0 Car
                       Number    Street                                                                                              CI Credit card
                                                                                                                                     U Loan repayment
                                                                                                                                     0 Suppliers or vendors
                       CIty                    State           ZIP Code
                                                                                                                                     U Other



                                                                                                                                     0 Mortgage
                       Creditors Name
                                                                                                                                     LI Car
                                                                                                                                     LI Credit card
                        Number   Street
                                                                                                                                     LI Loan repayment
                                                                                                                                     U Suppliers or vendors
                                                                                                                                     U Other
                       City                    State           ZIP Code




                                                                                                                                     El Mortgage
                       Creditor's Name
                                                                                                                                     U Car
                                                                                                                                     U Credit card
                        Number   Street
                                                                                                                                     U Loan repayment
                                                                                                                                     LI Suppliers or vendors
                                                                                                                                     U Other
                        City                   State            ZIP Code




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Debtor 1     Zainab Mansaray                                                                               Case number or known)
               First Name           Middle Name            Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders Include your relatives: any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

       No
     U Yes. List all payments to an Insider.
                                                                          Dates of    „Total timotiOiL..                 you still   go on-for. this payment
                                                                          payment      paid


           Insider's Name



           Number         Street




           City                                   State    ZIP Code




            Insider's Name


            Number        Street




            CIO/                                  State     ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

      Ei No
      U Yes. List all payments that benefited an insider.
                                                                          Dates of      Total amount          -Ampgilt you           Reason for this payment
                                                                          payment       Paid                   owp,•,R:,E, •         Include creditor's name


            Insiders Name



            Number        Street




            City                                  State     ZIP Code
                   ....




            Insider's Name



            Number         Street




            City                                   State    ZIP Code




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Debtor 1      Zainab Mansaray                                                                             Case number (Nknowta
               First Nome         Niddle Name           Lam Name




  Part 4:     Identity Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     El No
     0 Yes. Fill in the details.
                                                              _Nature of the case                   Court or agency                                Status of the case



           Case title                                                                             Court Name
                                                                                                                                                  0 Pending
                                                                                                                                                  D On appeal
                                                                                                   Number     Street                              0 Concluded
           Case number
                                                                                                   City                   Slate    ZIP Code




            Case title                                                                             Court Name
                                                                                                                                                     CI Pending
                                                                                                                                                     0 on appeal
                                                                                                   Number     Street                                 0 Concluded
            Case number
                                                                                                   City                    State   ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

      CI   No. Go to line 11.
      Er Yes. Fill in the information below.

                                                                         Describe the property                                      Date         Value of the property

                                                                        2014 Nissan Versa
                 Nissan Motor Acceptance Co LLC                                                                                     01/15/2022   $       7,500.00
                 Creditors Name



                 Number     Street                                       Explain what happened

                                                                         kr Property was repossessed.
                 PO Box 660360
                                                                         0    Property was foreclosed.

                 Dallas                         TX       75266           CI   Property was garnished.
                 City                           State   ZIP Code         0    Property was attached, seized, or levied.

                                                                         Describe the property                                       Date         Value of the propert)




                 Creditor's Name



                 Number     Street
                                                                         ExplaIn whet happened

                                                                          0   Property was repossessed.
                                                                          Li Property was foreclosed.

                  City                          State   ZIP Code
                                                                          D    Property was garnished.
                                                                          0    Property was attached, seized, or levied.




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Debtor 1          Zainab Mansaray                                                                         Case number (1( known)
                   First Name      !Addle Name            Last Name




    11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
       accounts or refuse to make a payment because you owed a debt?

       El No
       Li Yes. Fill In the details.

                                                                  Describe the action the creditor took                            Date action
                                                                                                                                   Was taken
           Creditor's Name




           Number       Street




           City                            State    ZIP Code      Last 4 digits of account number: XXXX—__


    12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
'      creditors, a court-appointed receiver, a custodian, or another official?
           No
           Yes


C:131              List Certain Gifts and Contributions


    13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
        El Yes. Fill in the details for each gift.


              Gifts with a total value of more than $600              Describe the gifts                                           Dates you gave
            • per person                                                                                                           the gifts




            Person to Whom You Gave the Gifl




            Number       Street




            City                            State   ZIP Code


            Person's relationship to you


            Gifts with a total value of more than $600                Describe the gifts                                            Dates you gave   Value
            per person              .,                                                     •                                        the gifts



            Person to Whom You Gave the Gift




            Number        Street



            City                            State    ZIP Code


            Person's relationship to you



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Debtor 1          Zainab Mansaray                                                                           Case number (If known)
                    First Sane      Widdle Name          Last Name




 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     El No
     U     Yes. Fill in the details for each gift or contribution.

            Glfts'er.contributions to charities                 Describe whet      contributed                                       Date you
            that total More than $600                                                                                                contributed




           Charity's Name




           Number        Street




11=        City            State      ZIP Code




                    List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

           No
     U     Yes. Fill in the details.


            =        V be the property you
                      i loss occurred
                                              lost and           Describe any insurance coverage for the loss
                                                                 Include the amount Mat insurance has paid, List pending insurance
                                                                 claims on line 13 of Schedule NH: Properly.
                                                                                                                                                       Value of property
                                                                                                                                                       lost




  Part 7:         List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or creoit counseling agencies for services required in your bankruptcy.

     El No
     El Yes. Fill in the details,

                                                                       ptIon and value of any property transferred                   Date payment or   Amount of payment
            Ruben S. Hauwanga                                                                                                        transfer was
             Person Who Was Paid                                                                                                     made

            4902 Charter Oak Court                             1Money
             Number        Street                                                                                                    07/01/2022                  150.00



            Kennesaw                      GA       30144
             City                         State   ZIP Code

            rubenhauwanga©gmall.com
             Emai or website address
            Zainab Mansaray
             Person Who Made the Payment, if Not You



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Debtor 1       Zainab Mansaray                                                                                  Case number (I   known)
                   First Name       Middle Name              Last Name




                                                                    13aseriPtion and-velea of any prelliirtylrarieforted                  Date payment or     Amount of
                                                                                                                                          transfer was made   payment


           Person Who Was Paid



           Number         Street




            City                         State    ZIP Code




            ErnQ or website address



            Person Who Made the Payment, if Not You



  17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     Er No
     CI    Yes. Fill In the details.

                                                                     De eription and value of any property transferred                    Date payment or     Amount of payment
                                                                                                                                          transfer was
                                                                                                                                          made
            Person Who Was Paid



            Number         Street




            City                          State   ZIP Code

  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security Interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
      Ei No
      0 Yes. Fill in the details.
                                                                     Description and value of property          Describe any property or payments received       Date transfer
                                                                     transferred                                or debts paid in exchange                        was made

            Person Who Received Transfer



            Number         Street




            City                          State   LIP Gods


            Person's relationship to you


            Person Who Received Transfer


            Number         Street




             City                         State   ZIP Code

            Person's relationship to you

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Debtor 1      Zainab Mansaray                                                                          Case number ork.ratt
                First Name       ?Addle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     g No
     O Yes. Fill in the details.

                                                              Description and.value of the property transferred                                        Date transfer
                                                                                                                                                       was made


           Name of trust




              List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     El No
     O Yes. Fill in the details.

                                                                  Last 4 dIgl                      Type of account Or         Date account was       Last balance before
                                                                                                   Instrument                 closed, sold, moved,   closing or transfer
                                                                                                                              or transferred . .              •

            Name of Financial Institution
                                                                                                   0 Checking
            Number     Street
                                                                                                   CI Savings
                                                                                                   CI Money market
                                                                                                   0 Brokerage
            City                       State   ZIP Cade
                                                                                                       Other


                                                                  xxxx-                                Checking
            Name of Financial Institution
                                                                                                   0   Savings

             Number    Street                                                                          Money market
                                                                                                   CI Brokerage
                                                                                                   0 Other
             City                      State   ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
      g No
      O Yes. Fill In the details.
                                                                  Who else had access to it?                   Describe the contents                        Do you still
                                                                                                                                                            have it?

                                                                                                                                                            U No
             Name of Financial Institution                    Name
                                                                                                                                                            0   Yes


             Number     Street                                Number       Street



                                                                  City          State   ZIP Code

             City                      State   ZIP Code



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Debtor 1      Zainab Mansaray                                                                                           Case number (if known)
                  Fitst Name      NickIte Name              Last Name



22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
      El No
      El Yes. Fill In the details.
                                                                   Who else has or had access to it?                          Describe the contents        Do you st II
                                                                                                                                                           have it?

                                                                                                                                                            0   No
            Name of Storage Facility                                Name                                                                                        Yes

            Number       Street                                     Number    Street


                                                                    City State ZIP Code


                                        State    ZIP Code



1=1                 Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
       Er No
       D  Yes. Fill in the details.
                                                                   Where is the property?                                      Describe the property    Value



            Owner's Name

                                                                  Number     Street
            Number       Street




                                                                  City                            State      ZIP Code
            City                        State    ZIP Code


                     Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  •    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
  •    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.
       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       Ili No
       U Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it      Date of notice




           Name of site                                            Governmental unit


           Number       Street                                     Number    Street


                                                                   City                   State   ZIP Code



           City                        State     ZIP Code




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Debtor 1       Zainab Mansaray                                                                                  Case number yrknown)
                    Fist Name   Ntddle Name           Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     •     No
     •     Yes. Fill in the details.
                                                             Governmental unit                               nvIronmental law, If yeu kook It



             Name of site                                   Governmental unit


             Number Street                                  Number Street


                                                            City                  State    ZIP Cods

             City                    State     ZIP Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

     El No
     ID Yes. Fill in the details.
                                                                                                                                                                 Status of the
                                                                  Court or agency                                Nature of the case
                                                                                                                                                                 case

            Case title
                                                                                                                                                                     Pending
                                                                  Court Name
                                                                                                                                                                     On appeal
                                                                  Number Street                                                                                  D Concluded


            Case number                                           City                    Slate   ZIP Code


  Part 11:             Give Details About Your Business or Connections to Any Business
  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
         U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            U A member of a limited liability company (LLC) or limited liability partnership (LLP)
            U A partner in a partnership
            • An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
         U Yes. Check all that apply above and fill in the details below for each business.
                                                       Describe the nature or the business                                      Employer Identification number
                                                                                                                                Do not include Social Security number or ITIN,
              Business Name

                                                                                                                                EIN:
              Number Street
                                                              -.:00016.0 accountant or beekkeePer,                              Dates business existed


                                                                                                                                 From               To

              City                     State    ZIP Code
                                                                  Describe the nature of the business                           Employer Identification number
                                                                                                                                Do not include Social Security number or ITIN,
              Business Name

                                                                                                                                 EIN:
              Number Street
                                                                  Name of accountant or bookkeeper                               Dates business existed


                                                                                                                                 From               To
              City                     State    ZIP Code

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Debtor 1     Zainab Mansaray                                                                           Case number yr known)
               First Name       Write Name          Lam Name




                                                                                                                       Employer Identification number
                                                           Describe the nature of the business
                                                                                                                       Do not include Social Security number or ITIN.
           Bus(nets Name
                                                                                                                       EIN:

           Number     Street
                                                                                                                       Dates business existed
                                                                       accounteoorbookkeepert



                                                                                                                        From               To
           City                      State   ZIP Code




  2e. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     elNo
     U Yes. Fill in the details below.

                                                               Date issued



            Name                                               MM I DO IVYVY


            Number     Street




            City                     State   ZIP Cole




1:11:1             Sign Below

       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18        §§ 152, 1341, 1519, and 3571.



       x
            Signature of Debtor 1                                              Signature of Debtor 2


           Date                  .,:1
                                   / 1‘ 7                                      Date
       Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)7

       g     No
       U     Yes


       Did you pay or agree to pay someone who Is not an attorney to help you fill out bankruptcy forms?
       U No
       if Yes. Name of person         Ruben S. Hauwanga                                                       .   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                  Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1          Zainab Mansaray
                      HSI Name                    Kiddie None                Last Name

Debtor 2
(Spouse, If filing) east Name                     Middle Name                LaSt Name


United States Bankruptcy Court for the: Northern District of Georgia
                                                                                         3
Case number
                                                                                                                                              CI Check if this is an
                                                                                                                                                  amended filing

 Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    0  No. Go to Part 2.
    El Yes. Where is the property?
                                                                      What is the property? Check all that apply.        DO not deduct secured claims or exemptions. Put
                                                                       WISingle-family home                              the amount Of any secured claims On Schedule 0:
      1.1.     2485 Piering Drive                                                                                        Creditore Who Have Claims Secured by Properly.
                                                                      O Duplex or multi-unit buildirg                                          .        •    •
               Street address, if available, or other description
                                                                      • Cordominium or cooperative                       Current value of the     Current value of the
                                                                      LI Manufactured or mobile home                     entire property?         portion you own?
                                                                       CI   Land                                                160,000.00        $     160,000.00
                                                                       O Investment property
               Lithonia                        GA        30038                                                           Describe the nature of your ownership
                                                                       • Timeshare
               City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                       O Other                                           the entireties, or a life estate), if known.
                                                                       Who has an interest In the property? Check one.   Fee Simple
               DeKalb                                                  CO Debtor 1 only
               County                                                  0 Debtor 2 only
                                                                       0 Debtor 1 and Debtor 2 only                      0   Check if this is community property
                                                                                                                             (see instructions)
                                                                       LI At least one of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
     If you own or have more than one, list here:
                                                                      What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                      LISingle-family home                               the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
        1.2.                                                          0 Duplex or multi-unit building
               Street address, If available, or other description
                                                                      O Condominium or cooperative                       Current value of the      Current value of the
                                                                      O Manufactured or mobile home                      entire property?          portion you own?
                                                                      1:.-3 Land
                                                                      O I nvestment property
                                                                                                                         Describe the nature of your ownership
                                                                      O 'Timeshare                                       Interest (such as fee simple, tenancy by
               City                            State       ZIP Code
                                                                      LI    Other                                        the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one
                                                                      0 Debtor 1 only
               County                                                 0 Debtor 2 only
                                                                      0 Debtor 1 and Debtor 2 only                       El Check if this is community property
                                                                      0 At least one of the debtors and another             (see instructions)

                                                                      Other Information you wish to add about this Item, such as local
                                                                      property identification number:


  Official Form 106A/B                                                 Schedule A/B: Property                                                              page 1
           Case 22-55399-bem                            Doc 1         Filed 07/15/22 Entered 07/15/22 15:54:41                                           Desc
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Debtor 1      Zainab Mansaray                                                                              Case number othnowm
                  First Name     Middle Name            Last Name




                                                                    What Is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put
                                                                    0     Single-family home                                the amount of any secured claims on Schedule 0:
    1.3.                                                                                                                    Creditors Who Have Claims Secured by Property.
           Street address, If available, or other description       0     Duplex or multi- unit building
                                                                                                                            Current value of the      Current value of the
                                                                    O Condominium or cooperative
                                                                                                                            entire property?          portion you own?
                                                                    0     Manufactured or mobile home
                                                                    121   Land
                                                                    O Investment property
                                                                                                                            Describe the nature of your ownership
           City                            State      ZIP Code      0     Timeshare
                                                                                                                            Interest (such as fee simple, tenancy by
                                                                    O Other                                                 the entireties, or a life estate), If known.

                                                                    Who has an interest in the property? Check one.
                                                                    CI Debtor 1 only
           County
                                                                    U Debtor 2 only
                                                                    0 Debtor 1 and Debtor 2 only                            U Check if this is community property
                                                                                                                              (see instructions)
                                                                    0 At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:



2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                            160,000.00
   you have attached for Part 1. Write that number here.                                                                                       4




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable Interest In any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   0 No
       Yes


    3.1.    Make:                        Kia                        Who has an Interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule .
            Model:                       Soul                       el Debtor 1 only                                         Creditors wlto l-lava.Clems Secured by Property.
                                         2020                        0 Debtor 2 only
            Year:                                                                                                            Current value of the      Current value of the
                                                                          Debtor 1 and Debtor 2 only
                                         50000                                                                               entire property?          portion you own?
            Approximate mileage:                                     0 At least one of the debtors and another
            Other information:                                                                                                        12,000.00                   5,000.00
                                                                     D Check if this is community property (see
                                                                          instructions)



   If you own or have more than one, describe here:

           Make:                                                     Who has an Interest In the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.2.
                                                                                                                             the amount of any secured claims on Schedule 0:
           Model:
                                                                     0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     0 Debtor 2 only
           Year:                                                                                                             Current value of the      Current value of the
                                                                     0 Debtor I and Debtor 2 only                            entire property?          portion you own?
           Approximate mileage:                                      0 At least one of the debtors and another
            Other information:
                                                                     CI Check If this Is community property (see
                                                                          instructions)




 Official Form 106A16                                                 Schedule NB: Property                                                                    page 2
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Debtor           Zainab Mansaray                                                                Case number (f known)
                  First Narne   F/Iddla Nara   Last Name




   3.3.    Make:                                           Who has an interest in the property? Check one.        • Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
           Model:
                                                           0 Debtor 1 only                                          Creditors Who Have Claims Secured by Properly.
                                                           0 Debtor 2 only
           Year:                                                                                                   Current value of the      Current value of the
                                                           0 Debtor I and Debtor 2 only                            entire property?          portion you own?
           Approximate mileage:                            0 At least one of the debtors and another
           Other information:
                                                           0 Check if this is community property (see
                                                              Instructions)


                                                           Who has an Interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.4.    Make:
                                                                                                                   the amount of any secured claims on Schedule 0:
           Model:
                                                           0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property,
                                                           0 Debtor 2 only
           Year:                                                                                                   Current value of the       Current value of the
                                                           0 Debtor 1 and Debtor 2 only                            entire property?           portion you own?
           Approximate mileage:                            0 At least one of the debtors and another
           Other information:
                                                           Li Check if this is community property (see
                                                              instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
   U Yes

                                                           Who has an Interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    4.1.   Make:
                                                                                                                    the amount of any secured claims on Schedule D:
           Model:
                                                           0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                           CI Debtor 2 only
           Year:
                                                           0 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
           Other information:                              Li At least one of the debtors and another               entire property?          portion you own?


                                                           LI Check if this is community property (see
                                                              instructions)



   If you own or have more than one, list here:
                                                           Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    4.2.   Make;
                                                                                                                    the amount of any secured claims on Schedule 0:
               Model:
                                                           CI Debtor 1 only                                         Creditors Who Have Claims Secured by Properly.
                                                           Li Debtor 2 only
               Year:                                                                                                Current value of the      Current value of the
                                                            0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
               Other information:                           O At least one of the debtors and another

                                                            0 Check if this Is community property (see
                                                               instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, Including any entries for pages                                      5,000.00
   you have attached for Part 2. Write that number here                                                                                5




                                                             Schedule AM: Property                                                                     page 3
 Official Form 106A/B
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Debtor 1       Zainab Mansaray                                                                  Case number ork.,,,n)
               Flat Name    Middle Name         Last Name




Part 3:    Describe Your Personal and Household Items

                                                                                                                          Current value of the
Do you OW or have any legal r equitable interest in any of the following Ite a?                                           portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          Or eXeMptiOnS,

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   O No
   ki Yes. Describe          Major appliances, furniture, linens, china, kitchenware                                                        1,000.00

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   1:1 No
   id Yes. Describe         [Televisions and radios; audio, video, computer, printer and cell phones                                          500.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   • No
   CI Yes. Describe                                                                                                                                 0.00

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   ia No
   O Yes. Describe                                                                                                                                  0.00

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   id No
   O Yes. Describe                                                                                                          $                       0.00

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes. accessories
   •   No
   •   Yes. Describe          Everyday clothes, shoes, accessories                                                                             200.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
   O No
   id Yes. Describe.
                                                                                                                                                    0.00
                              Everyday jewelry, costume _jewelry                                                          I $
13.Non-farm animals
   Examples: Dogs, cats, birds, horses

   la No
   0 Yes. Describe                                                                                                                                  0.00

14.Any other personal and household items you did not already list, including any health aids you did not list

   •   No
   0   Yes. Give specific                                                                                                                           0.00
       information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                               1,700.00
    for Part 3. Write that number here



 Official Form 106A/0                                       Schedule NB: Property                                                          page 4
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Debtor 1     Zainab Mansaray                                                                 Case number (Nnom,)
              Flea Name     Middle Name           Last Name




rin         Describe Your Financial Assets


Do YOU own Or have any legal or equitable intereet In                  following?'                                                 Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   LI No
   El Yes                                                                                                   Cash:                                   450.00


17.Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.

   0   No
   El Yes                                                     Institution name:


                             17.1. Checking account:          GA United CU                                                                           100.00

                             17.2. Checking account:

                             17.3. Savings account:           GA United CU                                                                              0.00

                             17.4. Savings account:

                             17.5. Cert.fleates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18.Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts

   El No
   LI Yes                    Institution or issuer name:




19. Non-publicly traded stock and interests In incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

    kl No                    Name of entity:                                                                % of ownership:
    U Yes. Give specific                                                                                     0%
      infonnation about
                                                                                                             0%
      them
                                                                                                             0%




 Official Form 106A/B                                         Schedule NB: Property                                                               page 5
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Debtor 1       Zainab Mansaray                                                                 Case number or i.owni
                First Name     Middle Name            Last Name




20.Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   la No
   Li Yes. Give specific       Issuer rame:
      information about
      them




21.Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   la No
   CI    Yes. List each
         account separately.    Type of account:          Institution name:

                                401(k) or similar plan:

                                Pension plan:

                                IRA:

                                Retirement account:

                                Keogh:

                                Additional account:

                                Additional account:



22.Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas. water), telecommunications
   companies, or others

         No
    Li Yes                                            Institution name or individual:

                                Electric:

                                Gas:

                                Heating oil:

                                Security deposit on rental unit:

                                Prepaid rent:

                                 Telephone:

                                 Water:

                                Rented furniture:

                                 Other:



 23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    el No
    Ca   Yes                      Issuer rame and description:




  Official Form 106A/S                                             Schedule NB: Property                                            page 6
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Debtor 1        Zainab Mansaray                                                                   Case number (if known)
                 Fast Name   filddle Nara          Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   10 No
   U Yes                               Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c).




25. Trusts, equitable or future Interests In property (other than anything listed In line 1), and rights or powers
    exercisable for your benefit

   O No
   U Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual properly
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   O No
   U Yes. Give specific
     information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   0    No
   U Yes. Give specific
     information about them....


                                                                                                                                            Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do nut deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
        No
    0   Yes. Give specific information             2021 Income Tax Refunds (Not yet received)                       Federal:                         4,500.00
             about them, including whether                                                                                                             250.00
             you already filed the returns                                                                          Slate:
             and the tax years.                                                                                     Local:



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    U No
    O Yes. Give specific Information               Court Ordered Child support of $70.00/week.
                                                                                                                    Alimony:
                                                   Irregularly provided and is now in arrears
                                                   (Exact amount unknown).                                          Maintenance:
                                                                                                                    Support:
                                                                                                                    Divorce settlement:
                                                                                                                    Property settlement:

 30. Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
               Social Security benefits; unpaid loans you made to someone else
    0   No
    U Yes. Give specific information


           ..

  Official Form 106A/B                                         Schedule NB: Property                                                                   page 7
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Debtor I         Zainab Mansaray                                                                            Case number iffimiyri)
                  First Name        Middle Name         Last Name



,

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (NSA); credit, homeowner's, or renter's insurance
      O No
      3 Yes. Name the Insurance company                Company name:                                           Beneficiary:                              Surrender or refund value:
                of each policy and list Is value....




32. Any Interest In property that Is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
      O No
      O Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

      O No
       O Yes. Describe each claim.


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
      O No
       O Yes. Describe each claim
                                                                                                                                                             $



35. Any financial assets you did not already list

       O No
       O Yes. Give specific information



    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                        5,300.00
        for Part 4. Write that number here




    Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


    37. Do you own or have any legal or equitable interest in any business-related property?
       O No. Go to Part 6.
       •   Yes. Go to line 38.
                                                                                                                                                        Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured claims
                                                                                                                                                        or exeniptions.

    38. Accounts receivable or commissions you already earned
       O No
       O Yes. Describe          [
                                                                                                                                                        1$

    39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, moderns, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       O No
       O Yes. Describe.




                                                                     Schedule NB: Property                                                                            page 8
     Official Form 106A/B
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Debtor 1        Zainab Mansaray                                                          Case number (dismay'')
                 First Nante   Middle Name       Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   O No
   U Yes. Describe



41.Inventory
    tiir No
   D Yes. Describe
                                                                                                                              .})


42.Interests in partnerships or joint ventures
   •       No
   El Yes. Describe            Name of entity:                                                              % of ownership:




43. Customer lists, mailing lists, or other compilations
    I No
    El Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                El No
                El Yes. Describe



44.Any business-related property you did not already list
       a
      No
   El Yes. Give specific
      information




 45. Add the dollar value of all of your entries from Part 5, Including any entries for pages you have attached                                       0.00
     for Part 5. Write that number here                                                                                   4




 Part 6:        Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        No. Go to Part 7.
     LI Yes. Go to line 47.
                                                                                                                                Current value of the
                                                                                                                                                 n?
                                                                                                                                riortjo-" You own?
                                                                                                                                Do not deduct secured claims
                                                                                                                                or exemptions.
 47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
       I No
       U Yes




                                                             Schedule A113: Property                                                         page 9
  Official Form 106A/B
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     Debtor 1      Zainab Mansaray                                                            Case number orknowm
                    First Waste   Middle Name       Last Name




t    48. Crops—either growing or harvested

        ta No
        U    Yes. Give specific
             information                                                                                                              s
     49. Farm and fishing equ pment, implements, machinery, fixtures, and tools of trade
        RI No
        El Yes

                                                                                                                                  1 5

     50.Farm and fishing supplies, chemicals, and feed

        Id No
        U Yes
                                                                                                                                      $

     51.Any farm- and commercial fishing -related property you did not already list
         O No
        U Yes. Give specific r
          information.
                                                                                                                                      $

     52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                0.00
         for Part 6. Write that number here                                                                                 4



     Part 7:       Describe All Property You Own or Have an interest in That You Did Not List Above


    ; 53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country dub membership

         O No
         •   Yes. Give specific
             information.




                                                                                                                                                  0.00
      54.Add the dollar value of all of your entries from Part 7. Write that number here




      Part 8:      List the Totals of Each Part of this Form

                                                                                                                                          160,000.00
      55.Part 1: Total real estate, line 2                                                                                       4•
                                                                                      5,000.00
      56.Part 2: Total vehicles, line 5

      57.Part 3: Total personal and household items, line 15
                                                                                      1,700.00

                                                                                      5,300.00
      58.Part 4: Total financial assets, line 36

                                                                                           0.00
      59.Part 5: Total business-related property, line 45

                                                                                           0.00
      60.Part 6: Total farm- and fishing-related property, line 52

      61.Part 7: Total other property not listed, line 54                 +5               0.00

                                                                                      12,000.00   Copy personal property total   4 + $      12,000.00
      62.Total personal property. Add lines 56 through 61.



                                                                                                                                           184,000.00
      63.Total of all property on Schedule A/B. Add line 55 + line 62



       Official Form 106A/B                                     Schedule NB: Property                                                        page 10
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 Fill in this information to identify your case:

 Debtor 1           Zainab Mansaray
                      First Nemo                  Middle Name              Last Name

 Debtor 2
 (Spouse, II filing) First Nereid                 Middle Name              Last Name


 United States Bankruptcy Court for the:Northern District of Georgia
                                                                                       El
 Case number                                                                                                                              0 Check if this is an
  (If known)
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule NB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:          Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      Ef You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the propert y and line on           Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own
                                                                Copy the value from    Check only one box for each exemption
                                                                Schedule A18

       Brief                                                                                                                   OCGA 44-13-100(a)(1)
       description:
                                   Family Home                  $160,000.00               $ 16,000.00
       Line from                                                                       CI 100% of fair market value, up to
       Schedule NB:                                                                       any applicable statutory limit


       Brief
                                                                $1,000.00              El $ 1,000.00                           OCGA 44-13-100(a)(4)
       description:                 Household aoods
       Line from                                                                       0 100°A of fair market value, up to
       Schedule A/B:                                                                     any applicable statutory limit

       Brief                                                                                                                   OCGA 44-13-100(a)(4)
       description:
                                    Electronics                 $500.00                    $ 500.00
       Line from                                                                       0 100% of fair market value, up to
       Schedule NB'             L                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,3507
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      Er No
      Li Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            •       No
            O       Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                       page 1 of
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Debtor 1      Zainab Mansaray                                                                 Case number (f knave)
              First Nome        Middle Nome    Last Name




 Part 2:     Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you               Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only or)e bok for each exempt/On
                                                       Schedule A/13                        .           •    .
     Brief
                                                                                                                       OCGA 44-13-100(a)(4)
                           Clothes                                 200.00     Ef $         200.00
     description:
     Line from             11                                                 Li 100% of fair market value, up to
                                                                                   any applicable statutory limit
     Schedule A/B:
     Brief
                                                                                                                       OCGA 44-13-100(a)(6)
     description:          Checking Account                         100.00    Er $         100.00
                                                                                   100% of fair market value, up to
     Line from
                           17                                                      any applicable statutory limit
     Schedule A/13:

     Brief
                                                                                                                       OCGA 44-13-100(a)(6)
                           Cash                                     450.00    Ef $         450.00
     description:
                                                                               0   100% of fair market value, up to
      Line from            16                                                      any applicable statutory limit
      Schedule A/B:

      Brief
                                                                                                                       OCGA 44-13-100(a)(6)
                           Tax Refunds                            4,750.00    Ef $ 4,500.00                      ($5000 from Home exemtion
      description:
      Line from            28                                                 0 100% of fair market value, up to applied)
                                                                                   any applicable statutory limit
      Schedule A/B:
      Brief
      description:                                                               $
                                                                               O 100% of fair market value, up to
      Line from
                                                                                 any applicable statutory limit
      Schedule A/B.

      Brief
      description:                                                                 $

      Line from
                                                                               0   100% of fair market value, up to
                                                                                   any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                 $
                                                                               O 100% of fair market value, up to
      Line from
                                                                                 any applicable statutory limit
      Schedule A/B:
      Brief
      description:                                                                 $

      Line from
                                                                               LI 100% of fair market value, up to
                                                                                   any applicable statutory limit
      Schedule NB: -

      Brief
      description:                                                                 $

      Line from
                                                                               0   100% of fair market value, up to
                                                                                   any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                               $
                                                                               O 100% of fair market value, up to
      Line from
                                                                                 any applicable statutory limit
      Schedule A/B:
      Brief
      description:                                                                  $

      Line from
                                                                               0    100% of fair market value, up to
                                                                                    any applicable statutory limit
      Schedule A/B:

      Brief
                                                                                    $
      description:
                                                                               0    100% of fair market value, up to
      Line from
                                                                                    any applicable statutory limit
      Schedule A/B:


 Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                       page      of
               Case 22-55399-bem                          Doc 1        Filed 07/15/22 Entered 07/15/22 15:54:41                                    Desc
                                                                     Petition Page 34 of 58


Fill in this information to identify your case:


Debtor 1           Zainab Mansaray
                     Find Nirne                  Middle Name                 Last Nemo

Debtor 2
(Spouse, ifiling) First None                     Middle Name                 Lost Name


United States Bankruptcy Court for the: Northern District of Georgia
                                                                                            LJ
Case number
 (It- known)                                                                                                                                 0   Check if this is an
                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, copy the Additional Page, fill It out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.



ECII             List All Secured Claims
                                                                                                        Column A
                                                                                                                                      • 's
                                                                                                                                                            Column:0
2. List all secured claims. If a creditor has more than one secured Clain list the creditor separately Amount of claim                Value of collateral   Unsecured
   for each claim. If more than one creditor has a panicular claim, list the other creditors In Part 2. 0, tiot        o,e            that supports this    portton
                                                                                                                deduct
   As much as possible, list the claims in alphabetical order according to the creditors name.          value ordite;l'at,            claim                 If any...,
                                                                                                                                                                 ,.

                                                           Describe the property that secures the claim:                  25,000.00 $       12,000.00$            0.00
      Kia Finance America
      Creditor's Name                                        -     -
                                                          2020 Kia Soul
      PO Box 650805
      Number            Street
                                                           As of the date you file, the claim Is: Check all that apply.
                                                           C3 Contingent
      Dallas                         TX     75265          O Unliquidated
      City                          State   ZIP Code
                                                           O Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  if Debtor 1 only                                         O An agreement you made (such as mortgage or secured
  CI Debtor 2 only                                           car loan)
  D Debtor 1 and Debtor 2 only                             O Statutory hen (such as tax lien, mechanic's lien)
  •     At least one of the debtors and another            O Judgment lien from a lawsuit
                                                           O Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred 05/1212022                        Last 4 digits of account number
2.2
                                                           Describe the property that secures the claim:
      Creditor's Name


      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
                                                           O Contingent
                                                           • Unliquidated
      City                          State   ZIP Code
                                                           O Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  D Debtor 1 only                                          Li An agreement you made (such as mortgage or secured
   O Debtor 2 only                                           car loan)
   O Debtor 1 and Debtor 2 only                            • Statutory lien (such as tax lien, mechanic's lien)
   O At least one of the debtors and another               O Judgment lien from a lawsuit
                                                           O Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred                                   Last 4 dl Its of account number

      Add the dollar value O. Your entries in Ceidirm A on this Page. Write that number here:                             25.000.00

 Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                        page 1 of 3
              Case 22-55399-bem                         Doc 1            Filed 07/15/22 Entered 07/15/22 15:54:41                                              Desc
                                                                       Petition Page 35 of 58


Debtor 1          Zainab Mansaray                                                                            Case number violown)
                   First Name /Addle N81.               Last Warne


                Additional Page
                                                                                                                           Anount of claim         Value of collateral Unsecured
                After listing any entries on this page, number them beginning with 2.3, followed                           Do nOt dedbot the       that supports this     portion
                by 2.4, and so forth.                                                                                      value of collateral     claim                  If ny

                                                        Describe the property that secures the claim;
       Creditors Name


       Number           Street

                                                        As of the date you file, the claim is: Check all that apply.
                                                        El       Contingent
       City                        Stale    ZIP Code    •        Unliquidated
                                                        U Disputed
  Who owes the debt? Check one.                         Nature of lien. Check all that apply.
  O Debtor 1 only                                       O An agreement you made (such as mortgage or secured
  D      Debtor 2 only                                    car loan)
  O Debtor 1 and Debtor 2 only                          U Statutory lien (such as tax lien, mechanic's lien)
  ID     At least one of the debtors and another        O        Judgment lien from a lawsuit
                                                        O        Other (including a right to offset)
  O      Check if this claim relates to a
         community debt




              -
  Date debt was Incurred                                Last 4 digits of account number


                                                        Describe the property that secures the claim;
       Crethlor's Name

       Number            Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                         U Contingent
                                                         •       llrillquidated
       City                         State   ZIP Code     D       Disputed
  Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
  •       Debtor 1 only
                                                            O    An agreement you made (such as mortgage or secured
  U Debtor 2 only                                                car loan)
  U Debtor 1 and Debtor 2 only                              O    Statutory lien (such as tax lien, mechanic's lien)
  LI      At least one of the debtors and another           •    Judgment lien from a lawsuit
                                                            13 Other (including a right to offset)
  O       Check if this claim relates to a
          community debt

  Date debt was incurred                                    Last 4 digits of account number


                                                            Describe the property that secures the claim:                                          4
       Creditors Name

       Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            U Contingent
       City                         State    ZIP Code       •    Unliquidated
                                                            ID   Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
   O Debtor 1 only                                          O An agreement you made (such as mortgage or secured
  D       Debtor 2 only                                       car loan)
   O Debtor 1 and Debtor 2 only                             U Statutory lien (such as tax lien, mechanic's lien)
   •      At least one of the debtors and another            O   Judgment lien from a lawsuit
                                                             O   Other (including a right to offset)
   EI Check if this claim relates to a
      community debt

   Date debt was incurred                                   Last 4 digits of account number

              Add the dollar value of your entries in Column A on this page. Write that number here: $                                      0.00

              If this is the last page of your form, add the dollar value totals from all pages.                                    25,000.00

 Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2      of 3
           Case 22-55399-bem                        Doc 1             Filed 07/15/22 Entered 07/15/22 15:54:41                               Desc
                                                                    Petition Page 36 of 58


Debtor 1       Zainab Mansaray                                                                  Case number ((mom)
                 First Name      Wirldle Name       Last Nan.   .

!riZEI           List Others to Be Notified for a Debt That You Already Listed

  Use this page only 0 you have others to be notified about your bankruptcy for a debt that you already listed In Part l, For example, If a collection
  agency Is trying to collect from you for a debt you owe to someone etee, Ilet the creditor In Part 1, and then list the collection agency here. Similarly, If
                                                                                      list 0 additional creditors here. if you do n0t have additional persons to
                                                     d s that you i listed in Part 11 lie
  You have more than one creditor for any of the debts
  be notified for any debte In Part 1, do not fill out or atibmIt this page.

                                                                                           On which line in Part 1 did you enter the creditor?

        Name                                                                               Last 4 digits of account number


        Number         Street




        City                                           State            ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?

        Name                                                                                Last 4 digits of account number


        Number         Street




        City                                           State            ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

        Name                                                                               Last 4 digits of account number


        Number         Street




        City                                            State           ZIP Code

                                                                                            On which line In Part 1 did you enter the creditor?
    1
        Name                                                                                Last 4 digits of account number


        Number         Street




                                                        State           ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?

        Name                                                                                Last 4 digits of account number


        Number          Street




        City                                            State           ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?

        Name                                                                                Last 4 digits of account number
                                                                                                                                        —    —

        Number          Street




        City                                            State            ZIP Code



 Official Form 106D                             Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                           page3      of 3
            Case 22-55399-bem                         Doc 1          Filed 07/15/22 Entered 07/15/22 15:54:41                                             Desc
                                                                   Petition Page 37 of 58

 Fill in this information to identify your case:


 Debtor 1         Zainab          Mansaray
                    First Name                 Middle Name                  Last Name
 Debtor 2
 (Spouse, if Ming) First Name                  Middle Name                  Last Nears

 United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                     Check if this IS an
 Case number                                                                                                                                         amended filing
 of known)


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:         List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
      la No. Go to Part 2.
      LI Yes.
 2. List all Of your pdority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed identify What type Of Claim it is, If a claim has both priority and nonpriority amounts list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims In alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, See the instructions for this form in the inStruction booklet.)
                                                                                                                                   Total eIgim   Priority        NollPrioritY
                                                                                                                                                 amount          arri0Ont

2.1
                                                                   Last 4 digits of account number
       Priority Creditors Name
                                                                   When was the debt incurred?
       Number           Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   O Contingent
        City                          State      ZIP Cede
                                                                   • Unliquidatad
       Who incurred the debt? Check ono.                           O Disputed
       O Debtor 1 only
       LI Debtor 2 only                                            Type of PRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                 CI   Domestic support obligations
       O At least one of the debtors and another                    O Taxes and certain other debts you owe the government
        CI Check if this claim is for a community debt              O Claims for death or personal injury while you were
                                                                      intoxicated
        Is the claim subject to offset?
        CI No                                                       O Other. Specify
        0 Yes .....                                                                                                                                   s


2.2                                                                 Last 4 digits of account number                                $
        Priority Creditors Name
                                                                    When was the debt incurred?
        Number           Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    O Contingent
        City                           State      ZIP Code          • UnlIquIdated
                                                                    • Disputed
        Who incurred the debt? Check one.
        O Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
        • Debtor 2 only
                                                                    O Domestic support obligations
        O Debtor 1 and Debtor 2 only
                                                                    O Taxes and certain other debts you owe the government
        0 At least one of the debtors and another
                                                                    D Claims for death or personal injury while you were
        •      Check if this claim is for a community debt            intoxicated
        Is the claim subject to offset?                             O Other. Specify
        O No
         O Yes


                                                             Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of   6
 Official Form 106E/F
             Case 22-55399-bem                            Doc 1         Filed 07/15/22 Entered 07/15/22 15:54:41                                                    Desc
                                                                      Petition Page 38 of 58
Debtor I         Zainab           Mansaray                                                                       Case number on...)
                   First Name       Middle l'Neme         Last Name

Part 1:           Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4 and so forth.                                    iTotal 0.1010:10i   Priority.
                                                                                                                                                             antotint    amount
                                                                                                                                                                    •

                                                                      Last 4 digits of account number
      Priority Creditor's Name

                                                                      When was the debt Incurred?
      Number            Street

                                                                      As of the date you file, the claim is: Check all that apply.

                                                                      CI Contingent
      City                                 State     ZIP Code         •       UnlIguldated
                                                                      O       Disputed
      Who incurred the debt? Check one.
      •      Debtor 1 only                                            Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                      U       Domestic support obligations
      El Debtor 1 and Debtor 2 only
                                                                      Li Taxes and certain other debts you owe the government
      0 At least one of the debtors and another
                                                                      O       Claims for death or personal injury while you were
                                                                              intoxicated
      •      Check if this claim is for a community debt
                                                                      O       Other. Specify

      Is the claim subject to offset?
      Li No
      0 Yes


                                                                      Last 4 digits of account number
      Priority Creditors Name

                                                                      When was the debt incurred?
      Number             Street

                                                                      As of the date you file, the claim is: Check all that apply.

                                                                      U       Contingent
      City                                  State    ZIP Cade         El UnlIguidated
                                                                      O       Disputed
      Who incurred the debt? Check one.
              Debtor 1 only                                           Type of PRIORITY unsecured claim:
       Li Debtor 2 only
                                                                      0       Domestic support obligations
       O Debtor 1 and Debtor 2 only
                                                                      0       Taxes and certain other debts you owe the government
       ID At least one of the debtors and another
                                                                          O   Claims for death or personal injury while you were
                                                                              intoxicated
       O Check if this claim is for a community debt
                                                                          Li Other. Specify

      Is the claim subject to offset?
          O No
          0 Yes

                                                                          Last 4 digits of account number
       Priority Creditor's Name

                                                                      When was the debt incurred?
       Number            Street

                                                                          As of the date you file, the claim is: Check all that apply.

                                                                          U   Contingent
       City                                  State   ZIP Code             •   Unliguidated
                                                                          O   Disputed
       Who Incurred the debt? Check one.
          O Debtor 1 only                                                 Type of PRIORITY unsecured claim:
          Li Debtor 2 only
                                                                          U   Domestic support obligations
          O Debtor 1 and Debtor 2 only
                                                                          Li Taxes and certain other debts you owe the government
          Li At least one of the debtors and another
                                                                          •   Claims for death or personal Injury while you were
                                                                              intoxicated
          U Check If this claim is for a community debt
                                                                          D   Other. Specify

       Is the claim subject to offset?
          U No
          Li Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            pagf2    of 6
               Case 22-55399-bem                           Doc 1         Filed 07/15/22 Entered 07/15/22 15:54:41                                             Desc
                                                                       Petition Page 39 of 58
Debtor 1          Zainab          Mansaray                                                                   Case number (town)
                   Firm Noma          Needle Name          Leer Name

 Part 2:         LIst All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      Li No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      LI Yes

 4. List all Of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part, 1. If more than one creditor holds a particular claim, list the other creditors in Part 3,11 you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              'Total claim
4.1    Citizen Pay                                                                                                              8 1 0
                                                                                       Last 4 digits of account number —
                                                                                                                       9      ———
       Nonpriority cieditors Name
                                                                                                                                                                      2,683.00
                                                                                       When was the debt incurred?         04/01/2022
       PO Box 4670
        Number          Street
       Carol Stream                                      IL            60197
        City                                             State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                       13 Contingent
        Who incurred the debt? Check one.                                              •    Unlicuidated
        id Debtor 1 only                                                               U Disputed
        El Debtor 2 only
        El Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
        El At least one of the debtors and another                                     U Student loans

        U Check if this claim is for a community debt                                  U Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
        Is the claim subject to offset?                                                U Debts to pension or profit-sharing plans, and other similar debts
        Vi No                                                                          WI Other. Specify      Unsecured Account
        El Yes

                                                                                       Last 4 digits of account number       1 4 6 0                                     204.00
        Grady Health Systems
        Nonpriority Creditor's Name                                                    When was the debt Incurred?          07/23/2021—
        PO Box 934953
        Number           Street
        Atlanta                                          GA             31193          As of the date you file, the claim is: Check all that apply.
        City                                             State         ZIP Coda
                                                                                       LI   Contingent
        Who incurred the debt? Check one.                                              •    Unliouldated
                                                                                       U Disputed
        id Debtor 1 only
        LI Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
        O Debtor 1 and Debtor 2 only
        0      At least one of the debtors and another                                 U Student loans
                                                                                       U  Obligations arising out of a separation agreement or divorce
        Li Check if this claim is for a community debt                                    that you did not report as priority claims
        Is the claim subject to offset?                                                El Debts to pension or profit-sharing plans, and other similar debts

        O No                                                                           Er Other. Specify      Medical Service Bill
        U Yes

4.3
        T-Mobile/Concergent Outsourcing, Inc.                                          Last 4 digits of account number        4 7 1 6                                 3,177.00
        Nonorlority Creditor's Name
                                                                                       When was the debt incurred?           01/13/2022
        PO Box 9004
        Number           Street
        Renton                                            WA            98057
                                                                                       As of the date you file, the claim is: Check all that apply.
        City                                             Stale         ZIP Code
                                                                                            Contingent
        Who incurred the debt? Check one.
                                                                                       L3 uniiquidated
        Er Debtor 1 only
                                                                                       LI   Disputed
        El Debtor 2 only
        El Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
        U At least one of the debtors and another
                                                                                       LI Student loans
        Li     Check if this claim Is for a community debt                             El Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
        lathe claim subject to offset?
                                                                                       D  Debts to pension or profit-sharing plans, and other similar debts
         Er No
                                                                                            Other. Specify    Collection Account
         U Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page3 of6
                Case 22-55399-bem                                Doc 1          Filed 07/15/22 Entered 07/15/22 15:54:41                                                               Desc
                                                                              Petition Page 40 of 58

Debtor 1                Zainab                Mansaray                                                                Case number pt raids's)
                             First torus        Kiddie Karns     Lest Nome




WI                    Your NONPRIORITY Unsecured Claims — Continuation Page



After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.


4.4                                                                                            Last 4 digits of account number                  2     4       1       0
        Progressive Mtn Ins. Co./Credit Collection Service
        Nonpriority Creditors Name
                                                                                               When was the debt incurred?                 02/28/2022
        PO Box 607
        Number  Street
                                                                                               As of the date you file, tho claim Is: Chock all that apply.
        Norwood                                                MA             02062
        City                                                   State         ZIP Code          llef Contingent
                                                                                               LI        uniiquidated
        Who incurred the debt? Check one.                                                       D        Disputed
         g      Debtor 1 only
        LI Debtor 2 only                                                                       Type of NONPRIORITY unsecured claim:
         LI Debtor 1 and Debtor 2 only                                                          LI Student loans
         0      At least one of the debtors and another                                         U Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
         ij Check If this claim is for a community debt
                                                                                                LI Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                         LI Other. Specify
                 No
         LI Yea

      761.11.,15,Intte.,S1
                                                                                                                                                wutatmummerzer..a.ss..nrasmemtaames.srs,,,,..msatnt..sx-nemmsnmeummtex,,,,

4.5
                                                                                                Last 4 digits of account number                 0      0       0       1                         $ 3,224.00
         Nissan Motor Acceptance Co. LLC
         Nonpriority Creditor's Name
                                                                                                When was the debt incurred?                 03/01/2020
         PO Box 660360
         Number                     Street
                                                                                                As of the date you file, the claim Is: Check all that apply.
         Dallas                                                 TX            75266
         City                                                  State         ZIP Code           LI Contingent
                                                                                                •        Unliquidated
         Who incurred the debt? Check one.                                                      O Disputed
          kr Debtor 1 only
         LI Debtor 2 only                                                                       Type of NONPRIORITY unsecured claim:
          0      Debtor 1 and Debtor 2 only                                                     O Student loans
          0      At least one of the debtors and another                                        O Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
          O Check if this claim is for a community debt
                                                                                                U Debts to pension or profit-sharing plans, and other similar debts
         lathe claim subject to offset?                                                         g        Other. Specify    Auto Loan Deficiency
          g No
          LI Yes



                                                                                                Last 4 digits of account number
          Nonpriority Creditors Name
                                                                                                When was the debt incurred?

          Number                     Street
                                                                                                As of the date you file, the claim is: Check all that apply.

          City                                                  State         ZIP Code          LI       Contingent
                                                                                                    O Unliquidated
          Who incurred the debt? Check one.                                                     U Disputed
          D Debtor 1 only
           LI Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
           O Debtor 1 and Debtor 2 only                                                             O Student loans
           O At least one of the debtors and another                                                U Obligations arising out of a separation agreement or divorce that
                                                                                                      you did not report as priority claims
           U Check if this claim is for a community debt
                                                                                                    O Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                          LI    Other. Specify
           D No
           LI Yes




                                                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                                           page4          of 6
Official Form 106E/F
              Case 22-55399-bem                        Doc 1           Filed 07/15/22 Entered 07/15/22 15:54:41                                       Desc
                                                                     Petition Page 41 of 58

 Debtor 1       Zainab         Mansaray                                                                Case number uthaoiwe
                First Name       Middle Name           Last Name


 Part 3:       List Others to Be Notified About a Debt That You Already Listed

' 5. Use this page only If you have others to be notified about your bankruptcy, for a debt that you already listed In Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Paris 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                              Line          of (Check one):     0     Part 1: Creditors with Priority Unsecured Claims
       Number         Street                                                                                    O Part 2: Creditors with Nonpriority Unsecured Claims

                                                                              Last 4 digits of account number
       City                                    State               ZIP Code


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                              Line           of (Check one):    0     Part 1: Creditors with Priority Unsecured Claims
       Number         Street                                                                                    O Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number
       City                                    State               ZIP Code


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                              Line           of (Check one):    CI    Part 1: Creditors with Priority Unsecured Claims
       Number         Street                                                                                    O Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number

                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                              Line           of (Check one):    0     Part 1: Creditors with Priority Unsecured Claims
       Number         Street                                                                                    1:1   Part 2: Creditors with Nonprlority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number
       City                                    State               ZIP Code


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                              Line           of (Check one):    U     Part 1: Creditors with Priority Unsecured Claims
       Number         Street                                                                                    O Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number
                                                                                       itireaarel.


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Namo

                                                                              Line            of (Check one):   U     Part 1: Creditors with Priority Unsecured Claims
       Number         Street                                                                                    O Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number
       City                                    State               ZIP Code


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                              Line            of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                                O Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims


        City                                   State               ZIP Code   Last 4 digits of account number


 Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page5      of 6
           Case 22-55399-bem                        Doc 1        Filed 07/15/22 Entered 07/15/22 15:54:41                          Desc
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 Debtorl     Zainab         Mansaray                                                             Case number ormowo
                Firg Name      Mettle Name         Last Name



 Part 4:    Add the Amounts for Each Type of Unsecured Claim



I 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




                                                                                            Total Qiaim


                  6a. Domestic support obligations                               6a.                             0.00
 Total claims
 from Part 1
                  6b. Taxes and certain other debts you owe the
                      government                                                 6b.                             0.00

                  6c. Claims for death or personal injury while you were
                      intoxicated                                                 6c.                            0.00

                  6d. Other. Add all other priority unsecured claims.
                      Write that amount here.                                     6d.   +                         0.00



                  Be. Total. Add lines 6a through 6d.                             Be.
                                                                                            5                     0.00


                                                                                            Total claim


                  6f. Student loans                                               6f.                             0.00
  Total claims
  from Part 2
                  6g. Obligations arising out of a separation agreement
                      or divorce that you did not report as priority
                                                                                  6g.        $
                                                                                                                  0.00
                      claims
                  6h. Debts to pension or profit-sharing plans, and other
                      similar debts                                               6h.                             0.00


                  6i. Other. Add all other nonpriority unsecured claims.
                      Write that amount here.                                     61.   +s                   9,588.00


                   6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                             9,588.00




                                                         Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                             page6   of   6
  Official Form 106EIF
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 Fill in this information to identify your case:


 Debtor               Zainab Mansaray
                      First Name           Middle Name                  Last Neme


 Debtor 2
 (Spouse If filing)   First Name            Middle Name                 Last Nerne


 United States Bankruptcy Court for the: Northern District of Georgia                a
 Case number                                                                                                                               Check if thiS is an
  (If known)
                                                                                                                                           amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (If known).


 1. Do you have any executory contracts or unexpired leases?
        la No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        LI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



        Person or company with whom you have the contract or lease                            State what the contract or lease is for


2.1
        Name

        Number            Street

        Cry                             State      ZIP Code

 2.2
        Name

        Number            Street

                                        State      ZIP Code
12.3'
        Name

         Number            Street

                                         State     ZIP Code

 2.41
         Name

         Number            Street

         City                            State      ZIP Code

 2.5,
    1
         Name

         Number            Street

         City                            State      ZIP Code


                                                 Schedule G: Executory Contracts and Unexpired Leases                                         page 1 of
 Official Form 106G
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Debtor           Zainab Mansaray                                                                    Case number (ikpowo
                  First Isms       :Addis Norm              Last Warns




                 Additional Page if You Have More Contracts or Leases

      PaNditetdoniPOOYMtk*nOM*4tfaYkttrkOntr*OkOCieeSOV                                          What the contract or lease is for



      Name


      Number            Street


      City                                       State      ZIP Code




      Name


      Number            Street


         City                                    State      ZIP Code


 2.
         Name


         Number         Street


         City                                    State      ZIP Code




         Name


         Number          Street


         City                                    State      ZIP Code




         Name


         Number          Street


         City                                    State      ZIP Code




         Name


         Number          Street


         City                                     State     ZIP Code




         Name


         Number          Street


          City                                    State      ZIP Code




          Name


          Number          Street




                                                          Schedule G: Executory Contracts and Unexpired Leases                       page   of
Official Form 106G
          Case 22-55399-bem                                Doc 1             Filed 07/15/22 Entered 07/15/22 15:54:41                                    Desc
                                                                           Petition Page 45 of 58


 Fill in this information to identify your case:

 Debtor 1          Zainab Mansaray
                      Fxst Noma                     Middle Name                  Last Horns

 Debtor 2
 (Spouse, if fding)   First Name                     Middle Name                 Last Name

 United States Bankruptcy Court for the: Northern District of Georgia                         El
 Case number
 (If known)
                                                                                                                                                   U Check if this is an
                                                                                                                                                       amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the loft. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1.Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      0 No
      El Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      El No. Go to line 3.
      El Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes. In which community state or territory did you live?                                  . Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                  Number              Street



                  City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor If your spouse Is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E)F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                                   Check all schedules that apply:

          Mariatu Silla                                                                                             LI Schedule D, line 2.1
          Name
          2485 Piering Dr.                                                                                          O Schedule E/F, line
          Number             Street                                                                                 LI Schedule G, line
          Lithonla                                                    GA                      30038
          City                                                        State                     ZIP Code


                                                                                                                    i] Schedule D, line
          Name
                                                                                                                    O Schedule EfF, line
          Number             Street                                                                                 O Schedule G, line

          quy                                                          Slate                    ZIP Code


                                                                                                                    O Schedule D, line
          Nemo
                                                                                                                    O Schedule E/F, line
          Number             Street                                                                                 O Schedule G, line

          PSY........                                                  State                    ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                 page 1 of
           Case 22-55399-bem                    Doc 1            Filed 07/15/22 Entered 07/15/22 15:54:41                            Desc
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Debtor 1        Zainab Mansaray                                                              Case number (Renown)
                 First Name       MrIdle Name   Last Name



                Additional Page to List More Codebtors

      00111117n 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                   Check all sehedules that apply:

                                                                                                    O Schedule D, line
       Name
                                                                                                    O Schedule E/F, line

       Number           Street                                                                      LI Schedule G, line

                                                     State                     ZIP Code


                                                                                                    •         Schedule D, line
       Name
                                                                                                    O Schedule E/F, line

       Number           Street                                                                      O Schedule G, line


       City,                                          State                    ZIP Code

 3.
                                                                                                    O Schedule D, line
       Name
                                                                                                    O Schedule E/F, line

       Number           Street                                                                      O Schedule G, line


       City                                           State                    ZIP Cade
                                                                                      ,


                                                                                                    Ll Schedule D, line
       Name
                                                                                                    •         Schedule E/F, line

       Number            Street                                                                         •     Schedule G, line


                                                      State                    ZIP Code


                                                                                                        O Schedule D, line
       Name
                                                                                                        O Schedule E/F, line

       Number            Street
                                                                                                        O Schedule G, line


        City                                          State                     ZIP Code


                                                                                                        O Schedule D, line
        Name
                                                                                                        O Schedule E/F, line

        Number           Street
                                                                                                        10 Schedule G, line


                                                       State                    ZIP Code


                                                                                                        O Schedule D, line
        Name
                                                                                                        •      Schedule E/F, line

        Number           Street
                                                                                                        O Schedule G, line


                                                       Slate                    ZIP Code


                                                                                                        O Schedule D, line
        Name
                                                                                                        O Schedule E/F, line
                                                                                                            O Schedule G, line
        Number           Street



        City                                           State




Official Form 106H                                              Schedule H: Your Codebtors                                           page    of
            Case 22-55399-bem                          Doc 1      Filed 07/15/22 Entered 07/15/22 15:54:41                                          Desc
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  Fill in this information to Identify your case:


  Debtor 1          Zainab        Mansaray
                     First Name                 Middle Name                Last Name

  Debtor 2
  (Spouse. if fling) First Name                 Middle Name                Last Name


  United States Bankruptcy Court for the:   Northern District of Georgia

  Case number                                                                                                Check if this is:
   Of known)
                                                                                                             U An amended filing
                                                                                                             D A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 1061                                                                                                 MM / OD/ YYYY

Schedule I: Your Income                                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse Is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


Mill                Describe Employment


! 1.    Fill in your employment
        information.                                                             Debtor 1                                    Debtor 2 or non filing spouse

        If you have more than one job,
        attach a separate page with
        information about additional          Employment status                El Employed                                   U       Employed
        employers.                                                             U Not employed                                U       Not employed

        Include part-time, seasonal, or
        self-employed work.
                                              Occupation                     Housekeeper
        Occupation may include student
        or homemaker, if it applies.
                                              Employer's name                Omni Atlanta Hotel at CNN Centel

                                              Employer's address             100 CNN Center NW
                                                                              Number Street                                Number       Street




                                                                             Atlanta                 GA      30038
                                                                              City              Slate   ZIP Code           City                     State ZIP Code

                                              How long employed there?            19 years                                   19 years


   Part 2:          Give Details About Monthly Income

        Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
        spouse unless you are separated.
        If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
        below. If you need more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                            non-filing spouse

       2. List monthly gross wages, salary, and commissions (before all payroll
          deductions). If not paid monthly, calculate what the monthly wage would be.           2.      $   1,330.00

       3. Estimate and list monthly overtime pay.                                               3. + $             0.00          $


   4. Calculate gross income. Add line 2 + line 3.                                              4.          1,330.00



 Official Form 1061                                                   Schedule I: Your Income                                                             page 1
            Case 22-55399-bem                      Doc 1         Filed 07/15/22 Entered 07/15/22 15:54:41                                       Desc
                                                               Petition Page 48 of 58


Debtor 1        Zainab         Mansaray                                                        Case number (wm.,,n)
                 First Nam     kiddie Name         Last Nome



                                                                                              For Debtor 1            For Debtor 2 or
                                                                                                                      non-fillno spouse

       Copy line 4 here                                                              4 4.     $    1,330.00

 5. List all payroll deductions:

        5a. Tax, Medicare, and Social Security deductions                              5a.    $      174.01
        5b. Mandatory contributions for retirement plans                               5b.    $       66.52             $
        5c. Voluntary contributions for retirement plans                               5c.    $        0.00             $
        5d. Required repayments of retirement fund loans                               5d.    s      142.04             $
        5e. Insurance                                                                  5e.    $       49.57             $
        51. Domestic support obligations                                               5f.    S        0.00
                                                                                       5g.
                                                                                                       0.00
        5g. Union dues
        5h. Other deductions. Specify:Transportation                                   5h. +$          59.85          + $
     6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f+ 5g + 5h.      6.    $       491.99

     7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.    $       838.41

     8. List all other income regularly received:
        8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                            0.00            $
            monthly net income.                                                        8a.
         8b.Interest and dividends                                                     8b.    $          0.00            $
         8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce            $       340.00             $
             settlement, and property settlement.                                  Sc.
         8d. Unemployment compensation                                                 8d.               0.00
         8e. Social Security                                                           8e.               0.00            $
         8f. Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify: Daughter,s contribution                                            f    $           0.00

         8g.Pension or retirement Income                                                8g.   $           0.00
         8h. Other monthly income. Specify:     Tips                                    8h. +$        400.00           +$

      9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 81+8g + 8h.           9.            740.00

     10.Calculate monthly income. Add line 7 + line 9.                                         $    1,578.41                                      $      1,578.41
        Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.      10.

     11.State all other regular contributions to the expenses that you list in Schedule J
        Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
        friends or relatives.
        Do not Include any amounts already Included In lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
        Specify: Daughter,s     contribution                                                                                              ii. +            175.00

     12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                                1,753.00
                                                                                                                                          12.
                                                                                                                                                  $
 '      Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                                  Combined
                                                                                                                                                  monthly income
      13. Do you expect an Increase or decrease within the year after you file this form?
          El No.
          U Yes. Explain:


     Official Form 1061                                             Schedule I: Your Income                                                           page 2
                Case 22-55399-bem                               Doc 1     Filed 07/15/22 Entered 07/15/22 15:54:41                               Desc
                                                                        Petition Page 49 of 58


Fill in this information to identify your case:

Debtor 1              Zainab        Mansaray
                      First Name                  Middle Name             LakNama

Debtor 2
(Spouse, if filing)   First Name                  NIddlo Name             Last Nemo


United States Bankruptcy Court for the: Northern District of Georgia                  Li                                                         Check if this is an
Case number
 (If known)                                                                                                                                      amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12115

  If you are an Individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
   Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
   write your name and case number (If known).

     Part 1:           List Your Creditors Who Have Secured Claims

  , 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       Information below.

              Identifyith                    property that                            What do you Intend to              property that   Old you claim the property
                                                                                      secures a debt?                                    as exempt on Schedule C?

           Creditor's                                                                 0 . Surrender the property.                           No
           name:       Kia Finance
            .         ,            ....... ,
                                                                                      El Retain the property and redeem it.              Ca Yes
           Description of          2020 Kia Sol
           property
                                                                                      0 Retain the property and enter into a
                                                                                         Reaffirmation Agreement.
           securing debt:
                                                                                      0 Retain the property and [explain]:


           Creditor's                                                                 0 Surrender the property.                          0 No
           name:
                                                                                      0 Retain the property and redeem it.               0 Yes
           Description of
                                                                                         Retain the property and enter into a
           property
                                                                                         Reaffirmation Agreement.
           securing debt:
                                                                                      O Retain the property and [explain]:


           Creditor's                                                                 0 Surrender the property.                          Li No
           name:
                                                                                      0 Retain the property and redeem it.               CI Yes
           Description of
           property
                                                                                      0 Retain the property and enter into a
                                                                                         Reaffirmation Agreement.
           securing debt:
                                                                                      0 Retain the property and [explain]:

           Creditor's                                                                 0 Surrender the property.                          CI No
           name:
                                                                                      0 Retain the property and redeem it.               0 Yes
           Description of
           property
                                                                                      0 Retain the property and enter into a
                                                                                         Reaffirmation Agreement.
           securing debt:
                                                                                      0 Retain the property and [explain]:


    Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                                page 1
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Debtor 1         Zainab           Mansaray                                                            Case number   (If known)
                First Name          efiddle Name           Last Name




  Part 2:        List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed In Schedule G: Executory Contracts and Unexpired Leases (Official Form 1060),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease If the trustee does not assume It. 11 U.S.C. § 365(p)(2):

       Describe your unexpired personal property leases                                                                          Will the lease be assumed?

      Lessor's name:                                                                                                             U No
                                                                                                                                 U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                             LI No
                                                                                                                                 ID Yes
      Description of leased
      property:


      Lessor's name:                                                                                                             U No

       Description of leased                                                                                                     U Yes
       property;


       Lessor's name:                                                                                                              No
                                                                                                                                 U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                            U No
                                                                                                                                 LI Yes
       Description of leased
       property:


       Lessor's name:                                                                                                            D No
                                                                                                                                 U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                            1:3 No
                                                                                                                                    Yes
       Description of leased
       property:




   Part 3:           Sign Below



     Under penalty of perjury, I declare that I have Indicated my Intention about any property of my estate that secures a debt and any
     personal property that Is subject to an unexpired lease.



                                 'C2-1 17—r,9ZMA-
       Signature of Debtor 1                                                 Signature of Debtor 2

       Date    72 "                     eZ 6'7     -e'3                      Date
                                                                                               YYYY
              MM I    DD     /   YYYY                                               MM/   DO




Official Form 108                                         Statement of Intention for Individuals Filing Under Chapter 7                           page 2
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                                                                 Petition Page 51 of 58



     Fill in this information to identify your case:

     Debtor 1        Zainab           Mansaray
                         First Nemo              MkIdle NRITI9              ass NE0111

     Debtor 2
     (Spouse, II fang)   First Name              Middle Name                Lest Name


     United States Bankruptcy Court for the: Northern District of Georgia
                                                                                         El
     Case number                                                                                                                          U Check if this is an
                         (If known)                                                                                                         amended filing




    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                             12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    Information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.


    Part 1:       Summarize Your Assets


                                                                                                                                       Your assets
                                                                                                                                       Value of what you own
    1. Schedule NB: Property (Official Form 106A/B)
                                                                                                                                           $     160,000.00
I      1a. Copy line 55, Total real estate, from Schedule A/B


          lb. Copy line 62, Total personal property, from Schedule A/B                                                                             12,000.00

           0. Copy line 63, Total of all property on Schedule A/B                                                                          $     184,000.00


    Part 2:       Summarize Your Liabilities



                                                                                                                                        Your liabilities
                                                                                                                                        Amount you owe
    2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                   25,000.00
          2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

    3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                           0.00
       3a.Copy the total claims from Part 1 (priority unsecured claims) from lire 6e of Schedule E/F

          3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF                                           9,588.00
                                                                                                                                        1- $


                                                                                                              Your total liabilities               34,588.00


                   Summarize Your Income and Expenses


1 4. Schedule!: Your Income (Official Form 1061)
                                                                                                                                                     1,752.00
     Copy your combined monthly !ncome from line 12 of Schedule I

    5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                     1,752.00
!      Copy your monthly expenses front line 22c of Schedule J


      ,



    Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                      page 1 of 2
            Case 22-55399-bem                       Doc 1        Filed 07/15/22 Entered 07/15/22 15:54:41                                Desc
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 Debtor 1      Zainab          Mansaray                                                        Case number (d known)
                First Name        Middle Name      Last Name




  Part 4:      Answer These Questions for Administrative and Statistical Records

  6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     U No. You have nothing to report on this part of the form. Check this box and submit this form to the court witi your other schedules.
     lE1 Yes

  7. What kind of debt do you have?

     LI Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
        family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     U Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



  8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
     Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                      1,330.00




  9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                        TOt I clainl


       From Part 4 on SChedirle'E/F, Copy the following:

                                                                                                                         0.00
      9a.Domestic support obligations (Copy line 6a.)

                                                                                                                         0.00
      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                         0.00
      9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                         0.00
      9d.Student loans. (Copy line 6f.)


      9e.Obligations arising out of a separation agreement or divorce that you did not report as                         0.00
         priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                 0.00

                                                                                                                         0.00
      9g.Total. Add lines 9a througn 9f.




                             Summary of Your Assets and Liabilities and Certain Statistical information                                       page 2 of 2
Official Form 106Sum
              Case 22-55399-bem                               Doc 1     Filed 07/15/22 Entered 07/15/22 15:54:41                                           Desc
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Fill in this information to identify your case:


Debtor 1           Zainab Mansaray
                   7irs1 Name                   Middle Name             Last Noma

Debtor 2
(Spouse, If Ming) Hrst Name                     Middle Name             Last Name


United States Bankruptcy Coxt for the: Northern District of Georgia
Case number
 (If known)
                                                                                                                                                    U Check if this is an
                                                                                                                                                      amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                              12/15


  If two married people are filing together, both are equally responsible for supplying correct Information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

              No
        if Yes.        Name of person      Ruben S. Hauwanga                                    . Attach Bankruptcy Petition Pmparer's Notice, Declaration, and
                                                                                                 Signature (Office! Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




         Signature of Debtor 1                                              Signature of Debtor 2


         Date
                   m    DD      /   YYYY
                                           ,2a2,03_                         Date
                                                                                    MM/ DD I   YYYY




   Official Form 106Dec                                          Declaration About an Individual Debtor's Schedules
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                                           Petition Page 54 of 58


B2800 (form 2800) (12115)



                               sUnited States Bankruptcy Court
                               Norefheis.,,             District Of (--/ edii

In re        1'1,1 ek                                                            Case No.
                    Debtor
                                                                                 Chapter     7
              DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
     [Must be/lied with the petition if a bankruptcy petition preparer prepares the petition. 11 § 110(h)(2).]

          Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an
          attorney, that I prepared or caused to be prepared one or more documents for filing by the above-named
          debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
          the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the
          debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services I have agreed to accept

Prior to the filing of this statement I have received

Balance Due

2.        I have, prepared or caused to be prepared the following documents (itemize):

and provided the following services (itemize):

3.         The source of the compensation paid to me was:
             Debtor                              Other (specify)

4.         The source of compensation to be paid to me is:
             Debtor                              Other (specify)

5.         The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation
           of the petition filed by the debtor(s) in this bankruptcy case.

6.         To my knowledge no other person has prepared for compensation a document for filing in connection with
           this bankruptcy case except as listed below:

NAME                                           SOCIAL SECURITY NUMBER



                                                 f-q--        -(15e)6                       Oki  / 31/2.62Z—
                                                                                                     ate
                                                   Security number of bankruptcy
                                               Social
                                               petition preparer*

Printed name and title, if any, of             Address
13ankruptcy Petition Preparer
          Ruben Hauwanga
 * If th41902peharte1pOiak COUirtindividual, state the Social Security number of the officer, principal,
 responsikdigiNW,nertfkeyylmatcy petition preparer. (Required by 11 U.S.C. § 110).
                a gas N.?i
 A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of
 Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 US.0 § 156. •
              Case 22-55399-bem                           Doc 1        Filed 07/15/22 Entered 07/15/22 15:54:41                              Desc
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  Fill in this information to identify the case:


 Debtor I              Zainab Mansaray-
                       First Name                 Middle Name             Last Narra

 Debtor 2
 (Spouse, if filing)   First Name                 Middle Name             Last Name


 United States Bankruptcy Court for the: Northern District of Georgia


 Case number                                                               Chapter     7
 (11 known)



Official Form 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                                      12/15

Bankruptcy petition preparers as defined In 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. If more than one bankruptcy petition preparer helps with the documents, each must sign In Part 3. A bankruptcy petition preparer who
does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




 Part 1:          Notice to Debtor



 Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
 filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

            Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

        e whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

        •      whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

        •      whether your debts will be eliminated or discharged In a case under the Bankruptcy Code;

        III whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;

        •      what tax consequences may arise because a case Is filed under the Bankruptcy Code;

        is whether any tax claims may be discharged;

        8 whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

        111 how to characterize the nature of your interests in property or your debts; or

        ix what procedures and rights apply in a bankruptcy case.




            The bankruptcy petition preparer           Ruben S. Hauwanga                                                          has notified me of
                                                       Name
             any maximum allowable fee before preparing any document for filing or accepting any fee.




                                    1M0 1-75      —' 0-4Ct_                                                 Date
             Signe Lire o-4r:
                           f tor 1 acknowledging receipt of this not ce                                            MM/Do / YYYY



                                                                                                            Date
             Signature of Debtor 2 acknowledging receipt of this notice                                            MM/DD / YYYY




Official Form 119                                    Bankruptcy Petition Preparer's Notice, Declaration, and Signature                           page 1
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Debtor 1        Zainab Mansaray-                                                                             Case number (irk...)
                 First Name            Middle Name     Last Name



 Part 2:        Declaration and Signature of the Bankruptcy Petition Preparer



 Under penalty of perjury, I declare that:

      I am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

  •   I or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
      Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and

  •   if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
      preparers may charge, I or my firm notified the debtor of the maximum amount before preparing any document for filing or before
      accepting any fee from the debtor.

      Ruben S. Hauwanga
      Printed name                                    Title, if any                       Firm name, if it applies

      4902 Charter Oak Court, NE
      Number                  Street

      Kennesaw                                       GA         30144                      (770) 924-4032
      City                                            State            ZIP Code           Contact phone


      I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I check:
      (Check all that apply.)

      El Voluntary Petition (Form 101)                                    Schedule 1 (Form 1061)                               Chapter 11 Statement of Your Current Monthly
                                                                                                                               Income (Form 122B)
             Statement About Your Social Security Numbers                 Schedule J (Form 106J)
             (Form 121)                                                                                                        Chapter 13 Statement of Your Current Monthly
                                                                          Declaration About an Individual Debtor's             Income and Calculation of Commitment Period
      El Summary of Your Assets and Liabilities and                       Schedules (Form 106Dec)                              (Form 122C-1)
             Certain Statistical Information (Form 106Sum)
                                                                          Statement of Financial Affairs (Form 107)       U    Chapter 13 Calculation of Your Disposable
             Schedule AB (Form 106A/B)                                                                                         Income (Form 122C-2)
                                                                          Statement of Intention for Individuals Filing
      Gil Schedule C (Form 106C)                                          Under Chapter 7 (Form 108)                      U    Application to Pay Filing Fee in Installments
                                                                                                                               (Form 103A)
      ria Schedule D (Form 1060)                                          Chapter 7 Statement of Your Current
                                                                          Monthly Income (Form 122A-1)                         Application to Have Chapter 7 Filing Fee
      U Schedule EIF (Form 106E/F)                                                                                             Waived (Form 1036)
                                                                          Statement of Exemption from Presumption
      Lid Schedule G (Form 106G)                                          of Abuse Under § 707(b)(2)                      RI A list of names and dddresses of all creditors
                                                                          (Form 122A-1Supp)                                    (creditor or mailing matrix)
      Et Schedule H (Form 106H)
                                                                      El Chapter 7 Means Test Calculation                      Other
                                                                         (Form 122A-2)


      Bankruptcy petition preparers must sign and give t     ocial Security numbers. If more than one bankruptcy petition preparer prepared the documents
      to which this declaration applies, the signatur and Soci Security number of each preparer must be provided. 11 U.S.C. § 110.



                                                                                                18 9 - 5 8 - 4 9 9 6                            Date     Oti        a/ 2"6
      Signature of bankruptcy petition preparer or offici     rincipal, responsible           Social Security number of person who signed              Wm     0/   Y Yr
      person, or partner


       Ruben S. Hauwanga
      Printed name


                                                                                                                                                Date
      Signature of bankruptcy petition preparer or officer, principal, responsible            Social Security number of person who signed              mm I DD / YYYY
      person, or partner



      Printed name




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Citizens Pay

PO Box4670

Carol Stream, IL 60197



Grady Health Systems

PO Box 934958

Atlanta, GA 31193



Kia Finance America

PO Box 650804

Dallas, TX 75265



Nissan Motor Acceptance Company, LLC.

PO Box 660360

Dallas, TX 75266



Progressive Mountain, Insurance Co.

c/o Credit Collection Service

PO Box 607

MA 02062



T-Mobile/Convergent Outsourcing, Inc.

 PO Box9004

 Renton, WA 98057
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Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.
If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.

[8] Individual - Series 100 Forms                                                       ▪ Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                    Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                    O Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                       O Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                   El Statistical Estimates
 O Signed Statement of SSN                                                              O Other:
MISSING DOCUMENTS DUE WITHIN 14 DAYS
O Statement of Financial Affairs                                                                        Case filed via:
El Schedules: J                                                                       Intake Counter by:
O Summary of Assets and Liabilities                                                     O Attorney
O Declaration About Debtor(s) Schedules                                                 O Debtor
O Attorney Disclosure of Compensation                                                   El Other: Courier: Ruben Hauwanga 678-654-8003
O Petition Preparer's Notice, Declaration and Signature (Form 119)                0 Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                        0 Attorney
O Chapter 13 Current Monthly Income                                                  O Debtor
   Chapter 7 Current Monthly Income                                                  O Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                             0 Email [Pursuant to General Order 45-2021, this petition
0 Pay Advices (Individuals only) (2 Months)                                       was received for filing via email]
O Chapter 13 Plan, complete with signatures (local form)
O Corporate Resolution (Non-Individual Ch. 7 & 11)                                              Histo       of Case Associati
                                                                                  Prior cases within 2 years: none
MISSING DOCUMENTS DUE WITHIN 30 DAYS
O Statement of Intent — Ch.7 (Individuals only)
                                                                                  Signature:
Ch.11 Business                                                                    Acknowledg ent of receipt of P eficienc            otice
O 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                   Intake Clerk A.Mezon              ID Verified       Date:7/15/22
O Small Business - Statement of Operations
O Small Business - Cash Flow Statement
O Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      • Paid $
      El Pending Pay.Gov, Paid $
      LJ IFP filed (Ch.7 Individuals Only)
      ▪ 2g-Order Granting        D 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
      • 2d-Order Denying with filing fee of $            due within 10 days
      El No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                              You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                         All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                   UNITED STATES BANKRUPTCY COURT
                                                     75 Ted Turner Drive, SW, Room 1340
                                                            Atlanta, Georgia 30303
                                                                404-215-1000
